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  PROB 12C
  (7/93)
                                   United States District Court
                                                for
                                      District of New Jersey
              Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: Guy Madmon                                     Docket Number: 09-00228-00 1
                                                                        PACTS Number: 46972
 Name of Sentencing Judicial Officer: Honorable Kent 1. Dawson, United States District Judge
 (D/NV)

 Name of Assigned Judicial Officer: Honorable William H. Walls, Sr., United States District Judge
 (DfNi)

 Date of Original Sentence: 06/04/2004

 Original Offense: Ct. 1- Conspiracy to Posses with Intent to Distribute and to distribute 3,4,
 mcthylenedioxymethapmphetamine (MDMA), 21 U.S.C. § 846, § 841(a)(l) and 841 (b)(1)(C)
                                                                                 §
 Ct. 2-Possession with Intent to Distribute a Controlled Substance, 21 U.S.C. 841 (a)( I) and 841
                                                                             §               §
 (b)( I )(C)

 Original Sentence: 97 months imprisonment; 3 years supervised release.

 Date of Amended Sentence: 07/14/2005

Amended Sentence: 70 months imprisonment; 3 year supervised release.

Type of Supervision: Supervised Release               Date Supervision Commenced: 08/07/2007

Assistant U.S. Attorney: To be assigned., 970 Broad Street, Room 502 Newark, New Jersey 07102
(973) 645-2700

Defense Attorney: To be assigned., 1002 Broad Street, Newark, New Jersey 07102, (973) 645-6347


                                PETITIONING THE COURT

[ I To issue a warrant
[Xl To issue a summons

The probation officer believes that the offender has violated the following condition(s) of
supervision:
Violation Number Nature of Noncompliance
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                                                                                           -


                                                                                    Guy Madinon


                The offender has violated the mandatory supervision condition which
                states ‘You shall not commit another federal, state, or local crime.’

                On December 7, 2009, Guy Madmon was charged by the Essex County
                Prosecutor’s Office with Conspiracy to Commit Fraudulent Use ofa Credit
                Card. The charge alleges that Madmon was involved in a conspiracy,
                along with others, including convicted felon, John Paladino. This case is
                pending in Essex County Superior Court.
     2         The offender has violated the standard supervision condition which states
               ‘You shall not associate with any persons engaged in criminal activity,
               and shall not associate with any person convicted of a felony unless
               granted permission to do so by the probation officer.’

               Throughout 2009, Guy Madmon associated with John Paladino, who was
               engaged in criminal activity and has felony convictions. Guy Madmon
               admitted to the undersigned that he spoke to Paladino, who was under
               federal supervision at the time, in person and on the telephone on
               numerous occasions in 2009. Paladino was charged, along with Madmon,
               in a criminal conspiracy.

 3             The offender has violated the standard supervision condition which states
               ‘You shall not associate with any persons engaged in criminal activity,
               and shall not associate with any person convicted of a felony unless
               granted permission to do so by the probation officer.’

              On July 10, 2009, July 12, 2009, and November 12, 2009, Guy Madmon
              had telephone contact with Raphael Toledano, Register#04694082, an
              inmate at Federal Correctional Institution Otisville.

              Raphael Tolendano is listed as a co-conspirator in Madmon’s presentence
              report under the alias, David Tolendanoe.

 4            The offender has violated the standard supervision condition which states
              ‘You shall answer truthfully all inquiries by the probation officer and
              follow the instructions of the probation officer.’

              On July 27, 2009, and other occasions during the term of supervision, the
              undersigned asked Guy Madmon specifically ifhe had contact with anyone
              convicted ofa felony and he replied, “no.” However, phone logs indicated
              Madmon had contact with inmate Raphael Toledano on July 10, 2009 and
              July 12, 2009. In addition, Madmon had contact with John Paladino, a
              convicted felon.
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                                                                                 PROL3 12C Page 3
                                                                                      Guy Madinon

                         I declare under penalty 9
                                                 ofperjury,31 the fhp ong is true and correct.
                                                 t

                                                         13y: Dana Hafix’
                                                              U.S. Probation Officer
                                                         Date: 7/27/10                 7J  /

 THE COURT ORDERS:

  [ % The Issuance of a Warrant
 i/i The Issuance of a Summons.
 [ I No Action
    I Other




                                                        /4      f///!f-h/
                                                                   /Z
                                                                                       1
                                                                      Date

                                                                   /1
